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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  LEXINGTON

                                                   )
  UNITED STATES OF AMERICA,
                                                   )
                                                   )
         Plaintiff,
                                                   )          No. 5:16-CR-22-DCR-REW
                                                   )
  v.
                                                   )
                                                   )
  DAVID BLACK DAUGHERTY and                               MEMORANDUM OPINION AND
                                                   )
  ALFRED BRADLEY ADKINS,                                         ORDER
                                                   )
                                                   )
         Defendants.
                                                   )

                                       *** *** ***

        Defendant David B. Daugherty, a former Social Security Administration (SSA)

 Administrative Law Judge (ALJ), faces an Indictment generally charging him with one

 count of conspiracy to commit mail fraud and wire fraud, two counts of mail fraud, two

 counts of wire fraud, and one count of conspiracy to money launder. See DE #1

 (Indictment). The count recitation, though, hardly captures the depth and scope of the

 case, which targets an alleged 8 year Social Security fraud scheme involving thousands of

 claims, $5.7 million in proceeds, and $600 million in potential losses.

        In the instant motion, Daugherty (joined by Defendant Adkins, see DE #133)

 moves to strike certain language from the Indictment. DE #130 (Motion). The United

 States responded in opposition. DE #150 (Response). The matter is ripe for consideration.

 For the following reasons, the Court DENIES DE #130.

                                       Legal Standard

        “Upon the defendant’s motion, the court may strike surplusage from the

 indictment[.]” Fed. R. Crim. P. 7(d); see also United States v. Kemper, 503 F.2d 327, 329

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 (6th Cir. 1974) (noting that “the striking of surplusage [is] permissive but not

 mandatory”). “The Rule is properly invoked when an indictment contains nonessential

 allegations that could prejudicially impress the jurors.” Kemper, 503 F.2d at 329. “The

 decision whether to strike language from an indictment rests within the sound discretion

 of the district court.” United States v. Emuegbunam, 268 F.3d 377, 394 (6th Cir. 2001);

 see also United States v. Moss, 9 F.3d 543, 550 (6th Cir. 1993) (noting the Circuit

 reviews surplusage striking “only for an abuse of discretion”); Kemper, 503 F.2d at 330

 (even an erroneous decision not to strike “is not ground for reversal” if it “did not affect

 the substantial rights of the defendant”). “A motion to strike surplusage should be granted

 only where it is clear that the language is irrelevant and prejudicial.” United States v.

 Neller, 229 F.3d 1154, Nos. 97-3630, 97-3631, 97-4051, 97-4053, 99-3252, 2000 WL

 1234330, at *2 (6th Cir. Aug. 25, 2000) (table) (per curiam) (emphases added). “[I]f the

 language in the indictment is information which the government hopes to properly prove

 at trial, it cannot be considered surplusage no matter how prejudicial it may be (provided,

 of course, it is legally relevant).” United States v. Thomas, 875 F.2d 559, 562 n.2 (6th

 Cir. 1989). Motions to strike surplusage are generally disfavored—the Rule 7(d) standard

 “has been strictly construed against striking surplusage[.]” Kemper, 503 F.2d at 329.

              Category 1—Language Concerning “On the Record” Decisions

        First, Daugherty moves to strike certain language from Indictment ¶¶ 13 and 14,

 generally concerning the regularity of SSA “on the record” (i.e., hearing-less) decision-

 making. See DE #130, at 1-3. The United States opposes striking. DE #150, at 3-7.

        Paragraph 13, which falls amid the Indictment’s lengthy background section

 concerning the SSA disability determination process, states:



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        The vast majority of ALJs typically held hearings to determine whether
        Claimants were disabled. In certain limited instances, ALJs could
        determine there was sufficient evidence in the records submitted by
        Claimants to support findings of disability without holding hearings. In
        such instances, the SSA permitted ALJs to issue ‘on the record decisions’
        (‘OTR decisions’) awarding disability benefits.

 DE #1, at ¶ 13 (emphases added to indicate the precise language Daugherty seeks to cut).

        Paragraph 14, for its part, says:

        Upon reviewing Claimants’ applications and supporting documentation
        and holding hearings, ALJs then decided to either award or deny disability
        benefits. ALJs’ decisions were communicated in writing to the Claimants.
        If ALJs awarded disability benefits, SSA offices then initiated the
        processes of disbursing disability benefits to Claimants.

 Id. at ¶ 14 (emphasis added to indicate the phrase Daugherty wants stricken). The

 Indictment later charges that “DAUGHERTY solicited CONN to submit falsified

 medical evidence so that DAUGHERTY could issue fully favorable decisions, via OTR

 decisions[.]” DE #1, at ¶ 37(d); see also id. at ¶ 37(m).

        Daugherty argues that both paragraphs “are inaccurate and misleading” because

 “[t]he ability to grant OTR decisions is not ‘limited’ nor is it ignored by the ‘vast

 majority’ of ALJs.” DE #130, at 3. Daugherty asserts that the paragraphs “are prejudicial

 to” him because they imply that “OTR decisions are unusual and/or limited” and “cast the

 idea of OTR decision-making, and [his] use of the OTR process, in a negative light.” Id.

 The Government responds that it “intends to introduce evidence at trial precisely to the

 effect that the relevant On-The-Record (‘OTR’) decisions were atypical and were used by

 [Daugherty] to help execute the fraudulent scheme.” DE #150, at 3.

        The Court, in the circumstances and in an exercise of its discretion, denies

 Daugherty’s request to strike the above-italicized phrases. No party doubts that the

 phrases pass over the low relevancy threshold, given the case charges and context. Under

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 Thomas (and as repeated throughout Sixth Circuit case law), if the Government “hopes to

 properly prove” a relevant piece of information “at trial, it cannot be considered

 surplusage[.]” 875 F.2d at 562 n.2. That is the case here—the United States asserts that it

 “intends to introduce evidence at trial precisely to the effect that the relevant” OTR

 decisions “were atypical[.]” DE #150, at 3. Proving atypicality may indeed require the

 Government to establish the typical ALJ practice, the frequency with which ALJs

 convened hearings, and the like. Per Thomas, this ends the matter—because the

 Government “hopes to prove” the information, “it cannot be considered surplusage[.]”1

        Additionally, as the Government argues, the Court should not strike the phrases—

 included in the Indictment’s background section—because they indeed help “explain[]

 the context and circumstances surrounding [the] charged fraud in order for the charges to

 be understood.” United States v. Garton, No. 3:08-CR-31-JMH, 2009 WL 1424429, at *3

 (E.D. Ky. May 21, 2009) (citing cases); see also, e.g., United States v. Jimenez, 824 F.

 Supp. 351, 370 (S.D.N.Y. 1993). To the extent Daugherty contests the accuracy of the ¶¶

 13-14 matters, “the truth of the Indictment’s allegations are to be tested at trial, not

 through pretrial motion, see United States v. Knox, 396 U.S. 77, 83, 90 S. Ct. 363, 24 L.

 Ed. 2d 275 (1969), and any unfair prejudice that remains can be eliminated through a

 simple instruction to the jury that the indictment is not evidence.” Garton, 2009 WL

 1424429, at *3; see also, e.g., United States v. Johnson, 585 F. Supp. 80, 81 (M.D. Tenn.

 1984). As this District summarized:



 1
  The Court does not perceive ¶ 14 itself as stating or implying, in any way, that OTR
 decisions are negative or that hearings are necessary (or “mandatory prerequisite[s,]” see
 DE #130, at 2), especially in light of the immediately preceding paragraph explicitly
 contemplating OTR (hearing-less) decisions. The Court subsumes ¶ 14 within the holding
 but notes this additional basis for denying striking.
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        The United States must present evidence at trial which would support such
        facts if [it] wish[es] to submit them to the jury, and Defendant Garton and
        his co-defendants will have an opportunity at their respective trials to
        cross-examine the witnesses of the United States if they wish to argue and
        establish that the ‘Background’ allegations are inaccurate. The Court will
        not prematurely strike this information at this time.

 Garton, 2009 WL 1424429, at *3. Daugherty will certainly have a similar chance to

 present the DE #130 proof and argument, if needed, to challenge any contrary

 Governmental assertion(s) at trial.

        The ¶¶ 13-14 discussion seems to refer, in context, to the Huntington Hearing

 Office practices at the time. It is not clear, at this stage, whether the Government intends

 its typicality argument to pertain only to the historical (i.e., temporally related) customs

 in that office. The OTR authority is a matter of regulation, which the Court can address

 through an appropriate instruction, if needed. Given that the Government intends to prove

 just what it alleged in the paragraphs, the Court will not strike the matters; trial

 machinations will iron out any proof disputes on the verbiage.

        To summarize: Thomas foundationally mandates motion denial. Next, even if

 Thomas did not so require, the Court perceives no cognizable prejudice per the

 discussion, e.g., in Garton. Further, applying Neller’s conjunctive test, even if Daugherty

 did face unfair prejudice, the ¶¶ 13-14 language is not irrelevant, independently requiring

 denial. See 229 F.3d 1154, 2000 WL 1234330, at *2 (“[A] prejudice determination [i.e.,

 probative balancing] is no part of the Fed. R. Crim. P. 7 analysis.”); see also, e.g., United

 States v. Ledbetter, Nos. 2:15-CR-80, 2:14-CR-127, 2015 WL 5029249, at *2 (S.D. Ohio

 Aug. 26, 2015) (“[R]elevant information may not be legitimately stricken from an

 indictment, regardless of its prejudicial impact[.]”); United States v. Hazelwood, No. 1:10

 CR 150, 2011 WL 2565294, at *23 (N.D. Ohio June 27, 2011) (“The fact that language

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 may be prejudicial to the defendant is not sufficient to warrant the striking of language in

 the Indictment. It must also be irrelevant.”). Accordingly, the Court finds no basis to

 strike under the applicable standard and thus denies Daugherty’s effort to strike the ¶¶

 13-14 phrases.

               Category 2—Language Concerning the Scope of the Alleged Fraud

            Daugherty next moves to strike certain language from Indictment ¶¶ 37(j) and

 37(s), generally concerning the numerical scope of the alleged fraud. DE #130, at 3-5.

 The Government opposes. DE #150, at 7-11.

            The lengthy paragraph 37 describes the manner and means of the alleged

 conspiracy. Subparagraph (j) specifically provides:

            CONN submitted, and caused others to submit, through interstate wire
            transmissions, the medical evaluation reports, pre-completed RFCs,
            summary reports, and the radiology reports to DAUGHERTY, and other
            Huntington Hearing Office ALJs, in support of disability determinations,
            and did so in more than 2,000 cases pending before the Huntington
            Hearing Office.

 DE #1, at ¶ 37(j) (emphasis added indicating the phrase Daugherty requests the Court to

 strike).

            Subparagraph 37(s) alleges:

            Based on these false and fraudulent submissions made to the SSA,
            CONN, DAUGHERTY, ADKINS, Unindicted Co-Conspirator A,
            Unindicted Co-Conspirator B, and Unindicted Co-Conspirator C intended
            that the SSA disburse retroactive and proactive disability benefits, an
            amount to exceed $600,000,000, to Claimants, residing in Fleming, Floyd,
            Lawrence and Madison Counties, in the Eastern District of Kentucky, and
            elsewhere, irrespective of the Claimants’ actual entitlement to benefits.

 Id. at ¶ 37(s) (emphasis adding indicating Daugherty’s strike request). Daugherty’s theory

 is that the above-italicized phrases are “[u]nnecessary and irrelevant” and is, at least in




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 part, premised on a favorable outcome of the motion for a bill of particulars. DE #130, at

 4.

        The Court, exercising its discretion, similarly denies Daugherty’s request to strike

 the ¶¶ 37(j) and (s) phrases. As above, the Government tells the Court that it “intends to

 prove at trial” the allegations, which ends the matter. Thomas, 875 F.2d at 562 n.2.

 Further, applying Neller, the ¶¶ 37(j) and (s) phrases obviously are not irrelevant—they

 are basic measures of the alleged conspiracy’s actual scope—which independently

 mandates motion denial. See 229 F.3d 1154, 2000 WL 1234330, at *2; see also, e.g.,

 Hazelwood, 2011 WL 2565294, at *23 (declining to strike references to “hundreds of

 thousands of prescription pills” and “thousands of prescriptions that they knew were

 illegal” even though “the Indictment only allege[d] 22 instances where controlled

 substances were dispensed and distributed” because the Government “indicated that it is

 charging Hazelwood with distributing more controlled substances than the controlled

 buys contained within the Indictment” and the scope statements “accurately reflect[ed]

 information regarding charges the Government intends to prove at trial”); United States v.

 Rodriguez, 50 F. Supp. 2d 717, 720 (N.D. Ohio 1999) (noting the court’s prior

 declination to strike an allegation that Defendant “abducted and murdered” a person

 because it was “relevant to show not only the existence of the alleged conspiracy, but the

 depth and breadth thereof”); United States v. Miller, 815 F.2d 80, No. 86-1427, 1987 WL

 36302, at *3 (6th Cir. Feb. 5, 1987) (table) (favorably including the following citation:

 “United States v. Krasnoff, 480 F. Supp. 723, 730 (S.D.N.Y. 1979) (court refused to

 strike as overly prejudicial the allegation that a doctor had prescribed ‘massive amounts’




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 of prescriptions for controlled substances)”).2 In this conspiracy case, details regarding

 alleged scope clearly are not surplusage.

        These principles apply equally regarding total alleged loss amounts. See, e.g.,

 United States v. Beasley, No. 12-20030, 2014 WL 4402078, at *2 (E.D. Mich. May 7,

 2014) (declining to strike a reference to “losses of at least $84.18 million from

 investments associated with the scheme to defraud” because the total loss was relevant to

 the Government’s theory of the case); United States v. Hampton, No. 4:06cr0097 SWW,

 2006 WL 3210003, at *2 (E.D. Ark. Nov. 6, 2006) (declining to strike a reference to “a

 tax loss of more than $150,000” because it was “not unduly prejudicial and . . . [wa]s

 relevant in that it states the scope of the crimes charged”); United States v. Gotti, No.

 S802CR743(RCC), 2004 WL 2389755, at *5 (S.D.N.Y. Oct. 26, 2004) (declining to

 strike an allegation that the “conspiracy involved a loss of more than $5,000,000”

 because “[e]vidence that $5,000,000 was obtained [wa]s . . . relevant to an element of

 extortion” and rejecting an argument that “the Government seek[ing] to quantify the

 amount instead of proving merely that some unspecified property was obtained” rendered

 “the evidence irrelevant or overly prejudicial”).

        Accordingly, the Court finds no basis to strike under the applicable Rule 7(d)

 standard and thus denies Daugherty’s effort to strike the ¶¶ 37(j) and (s) phrases.3



 2
   The Court’s conclusion thus in no way depends on the outcome of the motions for bills
 of particulars, which the Court will address by separate Order. Even if the Court ordered
 production of bills of particulars, that decision would not be an in limine ruling regulating
 proof presentation at trial, and the Indictment’s conspiracy scope allegations
 foundationally remain relevant to the charges.
 3
   The Court reiterates the Garton discussion excerpted above concerning the relationship
 between the actual trial proof and the matters submitted to the jury, and referencing the
 opportunity to cure any possibility of unfair prejudice “through a simple instruction to the
 jury that the indictment is not evidence.” See 2009 WL 1424429, at *3.
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                                          Conclusion

           For these reasons, the Court wholly DENIES DE #130.

                                         * * * * *

           The Court issues this Order resolving a non-dispositive pretrial matter4 under 28

 U.S.C. § 636(b)(1)(A). Any party objecting to this Order should consult the statute and

 Federal Rule of Criminal Procedure 59(a) concerning its right of and the mechanics for

 reconsideration before the District Court. Failure to object waives a party’s right to

 review.

           This 28th day of February, 2017.




 4
  See, e.g., United States v. Sikma, No. 2:05-CR-40, 2006 WL 47666, at *1-*2 (N.D. Ind.
 Jan. 9, 2006) (labeling a motion to strike surplusage nondispositive); United States v.
 Mickle, No. CRIM. 04-239(1)ADMAJB, 2004 WL 2302865, at *1, *3 (D. Minn. Oct. 12,
 2004) (treating a motion to strike surplusage as a nondispositive matter that a Magistrate
 Judge denied via Order).
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